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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                                  )
11    REGINALD A. GARY,                           )    Case No. CV 18-9545-PA (JEM)
                                                  )
12                        Plaintiff,              )
                                                  )    JUDGMENT
13                 v.                             )
                                                  )
14    LOS ANGELES COUNTY SHERIFF JIM              )
      MCDONNELL, et al.,                          )
15                                                )
                          Defendants.             )
16                                                )
17          In accordance with the Order Accepting Findings and Recommendations of United
18    States Magistrate Judge filed concurrently herewith,
19          IT IS HEREBY ADJUDGED that the action is dismissed without leave to amend.
20

21    DATED: October 28, 2021
                                                            PERCY ANDERSON
22                                                    UNITED STATES DISTRICT JUDGE
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